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  4           Calfo Eakes LLP
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  5           Suite 2800                                             4
              Seattle, WA 98101-3808
  6           206.407.2237                                                 Exhibit 16 3-page meeting request;          146
              tylerw@calfoeakes.com                                  5            SEA_00028170-171
  7           gaber@calfoeakes.com
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 20
      ALSO PRESENT: CATHY ZAK, videographer
                                                                    21
 21          Buell Realtime Reporting, LLC                          22
 22
                 * * * * *
                                                                    23
 23                                                                 24
 24
 25                                                                 25


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                                                      Page 37                                                        Page 39
   1        Q. And on the left part of this slide, it               1   that area -- within the -- within the yellow area for
   2    designates that area as the protest response zone; is       2   the fire department to respond; correct?
   3    that correct?                                               3        A. It could be. Just like any other warm zone
   4        A. Yes.                                                 4   that we would set up geographical boundaries for, yes.
   5        Q. Okay. And so on June 8th, within that area, is       5        Q. Okay. And so was it within that sit- -- within
   6    this slide indicating that anywhere in that area, that      6   that yellow zone you had modified -- the City modified
   7    the SPD had -- that the SFD had to wait for the Seattle     7   its response for basic life support and advanced life
   8    Police Department to secure the area before they would      8   support. I can ask it different -- I can ask that
   9    enter?                                                      9   question differently if it -- if it would be clearer for
  10        A. Anywhere in the red zone.                           10   you, which -- let's just re-ask it.
  11        Q. Okay. That didn't include the yellow area; is       11          So is it the case that within that yellow area,
  12    that correct?                                              12   the entire yellow area, bounded by Denny, Union,
  13        A. It did not.                                         13   Broadway and 13th, the Seattle Fire Department had a
  14        Q. Okay. I understand this slide as defining the       14   modified response for basic life support and advanced
  15    protest response zone as the yellow area.                  15   life support on June 8, 2020?
  16          Do you feel -- do you feel otherwise?                16        A. Yes.
  17        A. I do. The yellow identifies the warm zone.          17        Q. Okay. And as indicated on -- and you spoke a
  18    The protest response zone is the red, and it's written     18   little bit about this earlier, but so for basic life
  19    in there, "protest hot zone."                              19   support it required one aid car, one engine, and one
  20        Q. Okay. I'd like you to look at the left where        20   battalion chief to respond to that; is that correct?
  21    it says "Protest response zone," colon, and then it has,   21        A. Yes.
  22    Denny, Union, Broadway, and 13th.                          22        Q. Okay. What's -- what's an aid car?
  23          Do you see that?                                     23        A. An aid car is two firefighter EMTs on an
  24        A. Yes.                                                24   ambulance, basically. Our terminology is to call it an
  25        Q. Okay. I understand that as indicating that the      25   aid car so we can differentiate between an aid car and a

                                                      Page 38                                                        Page 40
   1    protest response zone was that area, Denny, Union,          1   medic unit, which is two firefighter paramedics in an
   2    Broadway, and 13th.                                         2   ambulance.
   3          Do you have a different understanding?                3       Q. Okay.
   4        A. I do. That's our warm zone, and this gave our        4       A. So the level of training is different.
   5    folks situational awareness for this protest hot zone.      5       Q. Okay. And a battalion chief, can you -- can
   6    And so here's some of the challenges, for example, and      6   you kind of describe to me where in the hierarchy a
   7    reason why we have to lay this out a little wider. Just     7   battalion chief sits?
   8    navigating around that area in our vehicles are very        8       A. A battalion chief is the first level of fire
   9    challenging just when you look at the red zone that's       9   management. The rank structure in the organization,
  10    outlined there. So all of our folks need to have           10   from battalion chief it goes up to deputy chief, then
  11    situational awareness for a larger area.                   11   transitions to assistant chief, and then to fire chief.
  12        Q. Okay. And that larger area was Denny, Union,        12   The rank and file, the labor side, is firefighter -- we
  13    Broadway, and 13th; is that right?                         13   have firefighter drivers, we have all of our technical
  14        A. Yes.                                                14   teams, we have lieutenants, and we have captains. So
  15        Q. And why -- why do they need to have additional      15   battalion chief is above the captain level.
  16    situation -- why do they need to have additional           16         So in the city, we have the city broken up into
  17    situational awareness within that area?                    17   five geographical boundaries, and each geographical
  18        A. Because one never knows what spills outside of      18   boundary has a battalion chief that's in charge of
  19    the hot zone. So our folks need to really be paying        19   between six and eight fire stations, so they're
  20    attention. This was on June 8th, so this is the first      20   basically the manager in charge of that geographical
  21    day that the landscape kind of changed for us. So our      21   boundary.
  22    folks needed to have situational awareness because you     22       Q. Okay. So how many battalion chiefs are there
  23    never know what you're going to, you know, come upon in    23   in the city of Seattle?
  24    any of these streets around -- around there.               24       A. Let's see. I believe 24.
  25        Q. It potentially could be unsafe within that --       25       Q. Okay.


 10 (Pages 37 to 40)
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                                                     Page 73                                                         Page 75
   1        Q. She is proposing that from sunset to dusk the        1   versus actual incidents.
   2    CHOP red zone expand to the outline of the warm zone for    2       A. I think our folks on the ground were making
   3    safety.                                                     3   real-time decisions based on what was in front of them,
   4          Do you see that?                                      4   but if a scene of violence or a cardiac event happened
   5        A. I do see that.                                       5   inside of the red zone, the responding units would have
   6        Q. Do you know whether that was -- that proposal        6   to make those real-time decisions to meet up with law
   7    was ever adopted into policy at the fire department?        7   enforcement and then go to where they needed to go to
   8        A. Into our planning, our operational planning.         8   treat the patient.
   9        Q. Yes.                                                 9   BY MR. WEAVER:
  10        A. I'm trying to think of that last map because        10       Q. Do you know of any instance from June 8th
  11    for most areas it looked like it eventually did expand.    11   through June 30, 2020, where the fire department went
  12    I don't know on June 22, 2020, if it expanded that day.    12   into the red zone with the police and either put out a
  13        Q. Then the bullet point between 1 and 2 in this       13   fire or assisted a victim?
  14    email indicates that the fire department was giving B2     14       A. I don't know. I would have to look at our
  15    chiefs the flexibility to recon and gather information     15   response information, but I don't think that there were
  16    to help with the decisions about staging and when entry    16   any significant fires during this period of time that we
  17    is safe.                                                   17   would have needed to go put out a fire. I think it may
  18          Is that -- do you see that, first of all?            18   have been more of a medical issue, but I'd have to
  19        A. Yes, I do see that 2.                               19   follow up on that. I don't know.
  20        Q. And is that an accurate description of what         20       Q. Okay. With regard to the medical issues, do
  21    was -- the sort of discretion that was given to the        21   you recall any instance in which the fire department
  22    chiefs in June 2020, with regard to this area?             22   went in with the police during the period of June 8th to
  23        A. Yes. We -- we normally give that type of            23   June 30, 2020, to address a medical issue in the red
  24    flexibility to our chiefs to gain situational awareness    24   zone?
  25    so they can share information that would help us with a    25       A. I don't -- I don't recall because I'm not sure

                                                     Page 74                                                         Page 76
   1    safer response.                                             1   if there was a response to a location inside of the red
   2        Q. So would you say the exact boundaries of the         2   zone for us to actually respond to. For example, at
   3    red zone could fluctuate depending on what the exact        3   12th and Pine, I'm not sure if we got a response to go
   4    circumstances in a particular incident were?                4   to 12th and Pine for a medical emergency. I'm not sure
   5        A. Correct. That goes back to our scenes of             5   if that actually happened. So I -- I can't be 100
   6    violence situations. So if they spill out, whether          6   percent sure on that one.
   7    they're outside of this area or in another part of the      7       Q. Do you recall that there were some medical
   8    city, the response personnel can make those real-time       8   emergencies from June 8th through June 30, 2020, that
   9    calls on where to push pause until we have proper           9   were reported in the red zone?
  10    support.                                                   10        A. I can take that assumption that there probably
  11        Q. Then in her No. 2, a couple lines there, she        11   was. It's a busy area, a lot of people there.
  12    indicates that as of the time of this email, June 22,      12       Q. Do you recall any shootings that occurred
  13    2020, non-SOV events, such as cardiac, are currently       13   during that time period within the red zone?
  14    treated in the same -- treated the same in the red zone    14        A. Yes.
  15    as SOVs.                                                   15       Q. Do you recall whether for any of those
  16           Do you see that?                                    16   shootings the Seattle Fire Department entered the area
  17        A. I do.                                               17   to treat victims within the red zone with the Seattle
  18        Q. Okay. And SOV refers to scene of violence; is       18   Police Department?
  19    that correct?                                              19        A. I do believe we entered the area with the
  20        A. Yes.                                                20   Seattle Police Department on occasions to treat a
  21        Q. So what do you -- first of all, is her              21   victim. I'm just not sure of the geographical
  22    statement of -- is her statement of what was going on on   22   boundaries based on the day because it was always
  23    the scene accurate, in your understanding of what was      23   changing.
  24    going on with responding to events in the red zone?        24       Q. Okay. But you don't recall -- you can't sit
  25             MR. FARMER: Objection. Vague as to policy         25   here and say that you know of an instance where the


                                                                                             19 (Pages 73 to 76)
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   1    Seattle Fire Department treated somebody during the         1   an MI is? There's a reference to an MI.
   2    period of June 8th through June 30, 2020, within the red    2       A. Myocardial infarction.
   3    zone; is that right?                                        3      Q. Okay. So a heart attack?
   4       A. Right. I -- I can say we entered with law             4       A. Yes.
   5    enforcement to treat a patient. I'm just not 100            5      Q. Was what was -- is what's described in this
   6    percent sure on the geographical boundaries.                6   email from Dale Watanabe, and the directions that were
   7       Q. Okay. Was it the case for incidents within the        7   given to the person who reported they were having a
   8    red zone, whatever it was on a particular day, that the     8   myocardial infarction, consistent with the policy that
   9    Seattle Fire Department could not go into the area and      9   was in place on June 20, 2020?
  10    would not go into the area unless the police department    10            MR. FARMER: Object to the form of the
  11    determined that it would go into the area?                 11   question.
  12            MR. FARMER: Object to the form of the              12       A. Well, this is a real-time situation that the
  13    question.                                                  13   dispatcher -- because Dale Watanabe is one of our
  14           You may answer.                                     14   dispatchers -- gave a caller in the 911 system
  15       A. Sure. In the area that was identified as the         15   information to get to fire station one block east of
  16    red or the hot zone, it was our practice to partner up     16   your location, Fire Station 25.
  17    with law enforcement, make sure that we had proper         17          So I don't know what else was said on that
  18    support, and then go in if we needed to. But that would    18   call. I don't know what other ailments the individual
  19    be similar to a shooting or a stabbing today. We would     19   may have had. But the dispatcher apparently felt
  20    pause, wait for law enforcement to clear the scene, and    20   comfortable enough to ask the person to walk to the fire
  21    then we would go into the scene. So that's our --          21   station one block away. But that's all I'm seeing here.
  22    that's our standard practice.                              22   That's not the situation we wanted.
  23    BY MR. WEAVER:                                             23   BY MR. WEAVER:
  24       Q. Was it the practice that for any area or any         24      Q. Okay. So Dale Watanabe is a dispatcher, you
  25    call within the red zone, as it existed on any day from    25   said. Is he -- okay.

                                                      Page 78                                                        Page 80
   1    June 8th to June 30, 2020, that it was the policy of the    1         So do you read his email as saying that --
   2    Seattle Police -- Fire Department to not enter the area     2   indicating that he was comfortable telling the person to
   3    unless the Seattle Police Department accompanied them?      3   walk to the fire station?
   4              MR. FARMER: Objection. Asked and answered.        4           MR. FARMER: Objection. Sorry. Objection.
   5            Chief, you may answer again.                        5   Calls for speculation.
   6         A. Oh, yes, that was our operational plan.             6       A. No, I don't read that statement in his email,
   7              (Exhibit No. 11 marked.)                          7   no.
   8    BY MR. WEAVER:                                              8   BY MR. WEAVER:
   9         Q. And -- all right. I'll leave it there for now.      9      Q. Okay. What is your understanding of what the
  10    So if you could go to what I've introduced as              10   policy would be today if somebody at 6 -- 1660 12th
  11    Exhibit 11. It's in the chat already.                      11   Avenue called the fire department, indicated that they
  12         A. 11.                                                12   were having symptoms of a cardiac arrest -- is it your
  13         Q. So do you have it up?                              13   understanding in that situation that it would have been
  14         A. Yes.                                               14   consistent with the current policy, today, to tell them
  15         Q. Okay. So there was an email that was written,      15   to walk to Fire Station 25?
  16    that was then forwarded to you.                            16       A. No.
  17            Do you recall the incident discussed in this --    17      Q. And why is that?
  18    in this email from Dale Watanabe?                          18       A. Today? We wouldn't have any obstructions
  19         A. Right. I'll take a look.                           19   blocking our units from actually making it to this
  20         Q. Okay.                                              20   address location, 1660 12th Avenue. What is it, just
  21         A. Yes, I've -- I've read that.                       21   north of the east precinct. So this is probably the
  22         Q. Okay. Do you recall that incident?                 22   building that is right on 12th, on the east side of the
  23         A. I don't recall the incident, but after reading     23   street there. But we wouldn't have any obstructions
  24    it, it does hit the refresh button a bit.                  24   blocking our units from getting there.
  25         Q. Okay. So what was your understanding of what       25      Q. Okay. So your understanding is that in this


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   1        A. No.                                                  1   Station 25 was literally one block --
   2       Q. Did there become a time around June 7th or            2       Q. Sure.
   3    June 8, 2020, that the fire department and the police       3       A. -- up the street. But each and every day
   4    department were concerned that there might be a fire set    4   our 33 stations are staffed and ready to go.
   5    to the building that houses the east precinct?              5       Q. Okay. So I'd like you to look again at
   6        A. There was.                                           6   Exhibit 14, and look at -- look at the notes under
   7       Q. And what was the source of that information?          7   Slide 10.
   8        A. I believe it was the FBI.                            8       A. Uh-huh.
   9       Q. Did you talk to the FBI, yourself, about --           9       Q. And where it says, "June 8 -- June 8 decision
  10    about that issue?                                          10   tipping point when SPD left its precinct," were you
  11        A. I did.                                              11   involved in the decision made by the Seattle Police
  12       Q. Okay. Can you describe your conversation or          12   Department to vacate the east precinct on June 8th?
  13    conversations with them about that issue?                  13       A. No.
  14        A. Sure. Vaguely, he expressed that there was          14       Q. When did you hear that the Seattle Police
  15    a -- a credible threat to burn the building, and that's    15   Department had made a decision to vacate the east
  16    what we talked about.                                      16   precinct on June 8th?
  17       Q. Was that on June 8, 2020? Do you recall?             17       A. I don't know exactly, but I'm sure it was
  18        A. I'm not sure if it was on June 8th, but if it       18   sometime that morning, as we watched the activity around
  19    wasn't, it was leading up to. I'm not sure of the exact    19   the precinct.
  20    date and time.                                             20       Q. How did you find out about it?
  21       Q. So what steps did the -- did the fire                21       A. It was -- I'm not sure exactly, whether it was
  22    department take with that information to protect or try    22   in the meeting or watching the activities that were
  23    to protect the east precinct?                              23   unfolding earlier that afternoon. I'm not sure which
  24        A. Well, when you say try to protect the east          24   came first.
  25    precinct, I'm not sure what that means.                    25       Q. Did you -- yeah. Sorry. We just talked over


                                                    Page 134                                                        Page 136
   1        Q. From being burned down. Did you do anything in       1   again.
   2    particular?                                                 2         So what did you mean by that it was a tipping
   3        A. We don't do pre-deployment of, I don't know,         3   point when they left the precinct?
   4    chemicals -- like you see in the wild lands, for            4      A. Sure. So when they left the precinct, the
   5    example.                                                    5   protesters initially marched by the precinct, and many
   6        Q. Sure.                                                6   of us thought, okay, well, that -- they'll just have a
   7        A. If a wildfire is coming you can predeploy            7   new route. But at some point they made a U-turn and
   8    things on the structures, but that's not what we do. We     8   came back into the space, and the tipping point was
   9    did an assessment. We revealed the building                 9   repurposing the water barriers and the gate barriers,
  10    construction, we reviewed the contiguous walls to the --   10   and staying in the space. So that changed the landscape
  11    we were trying to understand the lay of the land there     11   immediately.
  12    with the businesses that were to the south. We reviewed    12      Q. Okay. What did they repurpose the barriers
  13    the distance in that alleyway to the west, to that next    13   for?
  14    building, to understand, you know, if there was a fire,    14      A. To not -- to not allow traffic north, south,
  15    what would be the fire spread, what would be our           15   east, or west on the streets around the east precinct.
  16    opportunities and challenges. We reviewed the water        16           MR. WEAVER: Can we go off the record for a
  17    systems and things like that.                              17   minute?
  18        Q. Did you have men and equipment on the ready to      18           THE VIDEOGRAPHER: Going off the record.
  19    fight a fire at that particular location on that day?      19   The time is approximately 1:54 p.m.
  20        A. As we do every day.                                 20           (Pause in proceedings.)
  21        Q. Okay. There was no special precautions for          21           THE VIDEOGRAPHER: We are back on the
  22    that area on that day; is --                               22   record. The time is approximately 1:55 p.m.
  23        A. Well, the precautions that we talked about, the     23   BY MR. WEAVER:
  24    additional resources and things like that, that we -- we   24      Q. When you saw that the protesters had repurposed
  25    had that almost every day during this time period. Fire    25   the barriers, did you have any concerns as a -- as the


 34 (Pages 133 to 136)
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                                                    Page 221                                                        Page 223
   1       Q. The City renting a space?                             1       Q. Your City phone, I mean.
   2        A. Oh, I don't know.                                    2       A. No.
   3       Q. Okay. You don't know anything about Mayor             3       Q. Okay. And do you have a personal email address
   4    Durkan and a business called the Riveter? Do either of      4   that you use?
   5    those -- does that ring a bell with you at all?             5       A. I do.
   6        A. No.                                                  6       Q. What's -- what's the email address?
   7       Q. Okay.                                                 7   [--- Confidential        ---]
   8        A. And it's not to say that those conversations         8            MR. FARMER: Cindy, we would -- I'm sorry,
   9    didn't take place, but it -- it would not have been one     9   Mr. Weaver. Cindy, we would ask that you mark the last
  10    that impacted the fire department.                         10   question and answer as confidential under the protective
  11       Q. Okay. Yeah, I -- I'm just making sure. I             11   order in the case, please.
  12    didn't expect that you did, but -- can you give me         12            MR. WEAVER: And we have no objection to
  13    another five minutes? I might be done. I just want to      13   that. I expected that, so -- I was actually going to
  14    look at my notes. So if we could go off the record for     14   mention that we would keep that confidential.
  15    five minutes.                                              15          So unless your attorney has questions, I am
  16             THE VIDEOGRAPHER: Going off the record.           16   done.
  17    The time is approximately 4:53 p.m.                        17            MR. FARMER: No questions.
  18             (Recess from 4:53 p.m. to 4:57 p.m.)              18          Cindy, we'll reserve signature. Thank you.
  19             THE VIDEOGRAPHER: We are back on the              19            THE VIDEOGRAPHER: Thank you. This
  20    record. The time is approximately 4:57 p.m.                20   concludes today's deposition of Harold Scoggins. The
  21               E X A M I N A T I O N (Continuing)              21   time is approximately 5:00 p.m. Going off the record.
  22    BY MR. WEAVER:                                             22            (Deposition concluded at 5:00 p.m.)
  23       Q. Okay. I do have a few just brief questions.          23            (Reading and signing was requested
  24          So with regard to Cal Anderson after July 1st        24             pursuant to FRCP Rule 30(e).)
  25    through the end of 2020, do you know of any instances      25                     -o0o-

                                                    Page 222                                                        Page 224
   1    where there were yellow or red zones created in or          1             CERTIFICATE
   2    around the park during that time?                           2
   3        A. I don't. I don't think we created any in or          3   STATE OF WASHINGTON
   4    around the park, but I'm not 100 percent sure, but I        4   COUNTY OF PIERCE
   5    don't think we did.                                         5
   6        Q. Do you recall whether there were any scenes of       6         I, Cindy M. Koch, a Certified Court Reporter in
   7    violence declared in the -- in or around the park during    7   and for the State of Washington, do hereby certify that
   8    the same time period?                                       8   the foregoing transcript of the deposition of Harold
   9        A. Are you talking about the time period after the      9   Scoggins, having been duly sworn, on September 14, 2021,
  10    demobilization --                                          10   is true and accurate to the best of my knowledge, skill
  11        Q. Yeah, July 1st to the end of the year of 2020.      11   and ability.
  12        A. Oh, I'm not sure. That's a pretty long time         12         IN WITNESS WHEREOF, I have hereunto set my hand
  13    period, so there could have been.                          13   and seal this 23rd day of September, 2021.
  14        Q. Okay. Has anybody, to your knowledge,               14
  15    attempted to see if they can get any of your previous      15
  16    messages by using your Apple watch as a -- as a source?    16
  17        A. No.                                                 17              ____________________________
  18        Q. Is that a City-issued Apple watch?                  18              CINDY M. KOCH, CCR, RPR, CRR
  19        A. No.                                                 19   My commission expires:
  20        Q. But it is -- it's synced with your City phone;      20   JUNE 9, 2022
  21    is that right?                                             21
  22        A. Yes. Only my City phone.                            22
  23        Q. Okay. At any time -- in June of 2020, was your      23
  24    personal email linked to your phone?                       24
  25        A. No.                                                 25



 56 (Pages 221 to 224)
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                                                       AND LEGAL VIDEO




                           DECLARATION


CASE NAME:   Hunters Capital, LLCv. City of Seattle

DATE TAKEN: 9/14/2021

WITNESS:     30(b}(6) and Individual Deposition of Harold Scoggins with Confidential Excerpt




             I declare under penalty of perjury under the laws of the State of

Washington   that I have read my within deposition,            and the same is true and

accurate, save and except for changes and/or corrections,                if any, as indicated by

me on the ERRATA flyleaf page hereof.




       Signedonthe      2:2-=        day of      ()~                              r   2021.


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       Case 2:20-cv-00983-TSZ Document 75-44 Filed 02/07/22 Page 9 of 9




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                                                   COURT REPORTING
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                                      CORRECTIONS

Page         Line           Now Reads                        Should Read




                                                               Signature of Deponent


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